        Case 2:17-cv-04300-BMS Document 20 Filed 03/09/18 Page 1 of 11



                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MURIEL BECK                       :
1929 Sansom St., No. 705          :
Philadelphia, PA 19103            :
                                  :
      v.                          :               No.: 17-04300
                                  :
CNO FINANCIAL GROUP, INC., et al. :
11825 N. Pennsylvania St.         :
Cannel, IN 46032                  :


                                          ORDER

       AND NOW this ________________ day of ___________, 2018, upon consideration of

Defendant, CNO Financial Group, Inc.’s Motion to Dismiss Plaintiff, Muriel Beck’s Second

Amended Complaint, and Plaintiff’s Response in Opposition thereto, it is hereby ORDERED and

DECREED that Defendant’s Motion to Dismiss is DENIED.

       It is further ORDERED and DECREED that Defendant, CNO Financial Group, Inc. shall

file an Answer to Plaintiff’s Second Amended Complaint within 20 days of this Order.

       AND IT IS SO ORDERED.



                                                  ____________________________________
                                                                                   ,J.
        Case 2:17-cv-04300-BMS Document 20 Filed 03/09/18 Page 2 of 11



                        UNITED STATES DISTRICT COURT
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      v.                          :                 No.: 17-04300
                                  :
CNO FINANCIAL GROUP, INC., et al. :
11825 N. Pennsylvania St.         :
Cannel, IN 46032                  :


            PLAINTIFF, MURIEL BECK’S RESPONSE IN OPPOSITION TO
                  DEFENDANT, CNO FINANCIAL GROUP, INC.’S
                            MOTION TO DISMISS

       Plaintiff, Muriel Beck, by and through her undersigned attorneys, hereby incorporates by

reference her attached Memorandum of Law as if set forth at length herein. For the reasons set

forth in the attached Memorandum of Law, Plaintiff respectfully requests this Honorable Court

deny Defendant, CNO Financial Group, Inc.’s Motion to Dismiss Plaintiff’s Second Amended

Complaint and enter the attached Order.

       WHEREFORE, Plaintiff, Muriel Beck, by and through her undersigned attorneys,

respectfully requests this Honorable Court deny Defendant’s Motion to Dismiss Plaintiff’s

Second Amended Complaint and enter the proposed Order attached hereto.

WEISBERG LAW                                        SCHAFKOPF LAW, LLC

 /s/ Matthew B. Weisberg                             /s/ Gary Schafkopf
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         Case 2:17-cv-04300-BMS Document 20 Filed 03/09/18 Page 3 of 11



                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MURIEL BECK                       :
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      v.                          :                   No.: 17-04300
                                  :
CNO FINANCIAL GROUP, INC., et al. :
11825 N. Pennsylvania St.         :
Cannel, IN 46032                  :


               PLAINTIFF, MURIEL BECK’S MEMORANDUM OF LAW
            IN SUPPORT OF PLAINTIFF’S RESPONSE IN OPPOSITION TO
                   DEFENDANT, CNO FINANCIAL GROUP, INC.’S
                             MOTION TO DISMISS

       Plaintiff, Muriel Beck, by and through her undersigned attorneys, hereby provides her

Memorandum of Law in Support of her Response in Opposition to Defendant, CNO Financial

Group, Inc.’s (“CNO”) Motion to Dismiss Plaintiff’s Second Amended Complaint (“Pl. Sec.

Amend. Comp.”)

I.     OPERATIVE FACTS

       Defendant, CNO hired Plaintiff on or about August 15, 2016 to work at CNO’s

Philadelphia call center. See Pl. Sec. Amend. Comp., ¶ 8.

       On or about March 1, 2017, Plaintiff noticed numerous bug bites on her body. See Pl.

Sec. Amend. Comp., ¶ 9. At or about this same time, Plaintiff’s four co-workers, non-parties,

Terrence Pierce, Montez Petrose, Shayna Whitehead, Cyvanne Miller, and Jevena Wright – all

who sit in the same area as Plaintiff – also found numerous bug bites all over their bodies. See Pl.

Sec. Amend. Comp., ¶ 10. Upon information and belief, CNO’s Philadelphia call center has such

significant problems with mice, bugs, and other pests that it contracts Terminix to treat the call

center every 30 days - rather than incurring significant costs to fix the underlying causes
         Case 2:17-cv-04300-BMS Document 20 Filed 03/09/18 Page 4 of 11



allowing the pests into the call center. See Pl. Sec. Amend. Comp., ¶ 11.

       On or about March 13, 2017, as a result of numerous employees suffering from bed bug

bites in their office space, Plaintiff filed a complaint with the Occupational Safety and Health

Administration (“OSHA”) regarding existence of bed bugs in the office place on or about March

13, 2017. See Pl. Sec. Amend. Comp., ¶ 12. Plaintiff also complained of the significant, ongoing

mouse droppings in CNO’s Philadelphia call center. Id.

       Plaintiff visited her doctor, Dr. Benson Naiema, who directed Plaintiff take medical leave

for two weeks, from March 13, 2017 until March 27, 2017. See Pl. Sec. Amend. Comp., ¶ 13.

Per Defendant’s policy, Plaintiff must notify her supervisor of her absence in advance, which

Plaintiff did and her supervisor approved. See Pl. Sec. Amend. Comp., ¶ 14.

       At all material times, Plaintiff was in contact with Defendant, CNO during her medical

leave. See Pl. Sec. Amend. Comp., ¶ 15. In fact, Plaintiff’s supervisor, non-party, John Wheatbe

told Plaintiff to take all necessary time to allow Plaintiff’s body to recover from the bug bites

before returning to work, i.e. when Plaintiff had completely cleared of the symptoms. See Pl.

Sec. Amend. Comp., ¶ 16. Plaintiff’s supervisor, John Wheatbe communicated to Plaintiff that

she was approved for medical leave until she was able to return. See Pl. Sec. Amend. Comp., ¶

17.

       However, as Plaintiff was an hourly worker, she would not receive wages during her

medical leave unless CNO’s third-party carrier, CIGNA approved. See Pl. Sec. Amend. Comp., ¶

18. As such, Plaintiff applied for partial unemployment compensation, which she was ultimately

approved for. See Pl. Sec. Amend. Comp., ¶ 19.

       Based on this conversation with Plaintiff’s supervisor, non-party, John Wheatbe, Plaintiff

did not return to work on March 27, 2017 as her bug bites had not cleared. See Pl. Sec. Amend.
        Case 2:17-cv-04300-BMS Document 20 Filed 03/09/18 Page 5 of 11



Comp., ¶ 20.

       However, upon information and belief, CNO received notice of Plaintiff’s OSHA

complaint and was angered as OSHA communicated its intent to investigation the conditions of

CNO’s Philadelphia call center. See Pl. Sec. Amend. Comp., ¶ 21. Further, upon information and

belief, CNO received notice of Plaintiff’s partial unemployment compensation and was angered.

See Pl. Sec. Amend. Comp., ¶ 22.

       As a result, on or about March 31, 2017, Plaintiff received an employment-termination

letter from Defendant, CNO for “abandonment” of her work from March 20, 2017 until March

23, 2017. See Pl. Sec. Amend. Comp., ¶ 23; see also Pl. Sec. Amend. Comp., Exhibit A.

However, as Defendant, CNO had acknowledge Plaintiff’s doctor-approved medical leave was

through March 27, 2017 and had affirmatively communicated to Plaintiff (1) such time was

approved; and (2) to take any extra time needed to complete the recovery, Defendant, CNO had

no basis to conclude that Plaintiff had abandoned her workplace. See Pl. Sec. Amend. Comp., ¶

24. Upon information and belief, Defendant, CNO retaliated against Plaintiff because she filed a

complaint with OSHA regarding the bug bites and for filing a partial unemployment

compensation claim. See Pl. Sec. Amend. Comp., ¶ 25.

       Due to CNO’s false allegation that Plaintiff abandoned her employment and was

terminated as a result on March 23, 2017, Plaintiff was only awarded partial unemployment

compensation through March 23, 2017 on the theory that Plaintiff “quit” her employment. See

Pl. Sec. Amend. Comp., ¶ 26. Thus, through terminating Plaintiff on false grounds, CNO

successfully limited the unemployment compensation provided to Plaintiff (and thus limited their

unemployment insurance costs). See Pl. Sec. Amend. Comp., ¶ 27.

       On or about April 3, 2017, Plaintiff filed a whistleblower complaint with OSHA pursuant
         Case 2:17-cv-04300-BMS Document 20 Filed 03/09/18 Page 6 of 11



to the whistleblower protection provisions of the Occupational Safety and Health Act, i.e. 29

U.S.C. § 660(c). See Pl. Sec. Amend. Comp., ¶ 28.

       CNO terminated Plaintiff, inter alia, in violation of Pennsylvania public policy as

articulated in in 35 PS Health & Safety § 7313. See Pl. Sec. Amend. Comp., ¶ 29. It is a violation

of the public policy of the Commonwealth of Pennsylvania to terminate an employee due to that

employee filing a complaint with OSHA. See Pl. Sec. Amend. Comp., ¶ 30. The workplace

safety rules and regulations enforced by OSGA essentially mirror similar workplace safety

policies promulgated under the Pennsylvania Department of Labor and Industry and the

Pennsylvania Health and Safety Act. See Pl. Sec. Amend. Comp., ¶ 31. Plaintiff believes, and

therefore avers, that by filing a complaint with OSHA, she was in effect taking action that had

the effect of protecting the workplace safety policies of the Commonwealth of Pennsylvania. See

Pl. Sec. Amend. Comp., ¶ 32. Plaintiff believes, and therefore avers, that the same initial

complaint filed with OSHA could have been filed with the Pennsylvania Department of Labor

and Industry because the state law expressed in the Pennsylvania Health and Safety Act reflects

the same public policy expressed by the federal government under OSHA. See Pl. Sec. Amend.

Comp., ¶ 33.

       Plaintiff has a right, granted by the Commonwealth of Pennsylvania, to receive

unemployment compensation. See Pl. Sec. Amend. Comp., ¶ 34. It is a violation of the public

policy of the Commonwealth of Pennsylvania to terminate an employee due to that employee

filing a claim for unemployment compensation. See Pl. Sec. Amend. Comp., ¶ 35. CNO

terminated Plaintiff, inter alia, in violation of Pennsylvania public policy in retaliation for

Plaintiff filing a partial unemployment compensation claim. See Pl. Sec. Amend. Comp., ¶ 36.

       As a result of the wrongful termination, Plaintiff suffered emotional distress. Plaintiff has
        Case 2:17-cv-04300-BMS Document 20 Filed 03/09/18 Page 7 of 11



remained in distress since termination of her employment as Plaintiff sought to resolve the

impact of termination while challenging illness. See Pl. Sec. Amend. Comp., ¶ 37. Plaintiff has

been unable to gain equivalent employment. See Pl. Sec. Amend. Comp., ¶ 38.

II.    ARGUMENT

       Plaintiff, Muriel Beck, set forth ‘sufficient factual matter’ to demonstrate to this

Honorable Court that her claims against Defendant, CNO wrongful termination in violation of

Pennsylvania public policy in her Second Amended Complaint, which was filed with leave of

Defendant’s Counsel.

       A.      PLAINTIFF’S SECOND AMENDED COMPLAINT WAS APPROPRIATELY FILED IN
               ACCORDANCE WITH FRCP 15(B).

       Plaintiff’s Second Amended Complaint was appropriately filed in accordance with

Federal Rule of Civil Procedure 15(b). Rule 15(b) provides that a party may file a second

amended complaint with the opposing party’s written consent. See FRCP 15(b). Plaintiff timely

filed her Second Amended Complaint on February 2, 2018 in accordance with the stipulation

(Doc. No. 13), which was approved by this Honorable Court on January 24, 2018 (Doc. No. 14).

The Order states that Plaintiff may “respond / amend” by February 2, 2018. See Doc. No. 14. As

Plaintiff filed her Second Amended Complaint with the opposing party’s written consent, which

was approved by this Honorable Court, Plaintiff’s Second Amended Complaint is procedurally

proper and Defendant’s Motion to Dismiss should be denied.

       B.      PLAINTIFF SUFFICIENTLY PLED A CLAIM FOR WRONGFUL DISCHARGE IN
               VIOLATION OF PENNSYLVANIA PUBLIC POLICY.

       Plaintiff sufficiently pled a claim for wrongful discharge in violation of Pennsylvania

public policy. In Plaintiff’s Second Amended Complaint, Plaintiff alleged two baseis for her

wrongful termination: (i) retaliation for filing for partial unemployment compensation; and (ii)

retaliation for filing a complaint concerning workplace safety. See Wetherhold v. Radioshack
          Case 2:17-cv-04300-BMS Document 20 Filed 03/09/18 Page 8 of 11



Corporation, 339 F.Supp.2d 670, 681-82 (EDPA 2004) (finding that a retaliatory termination as

a result of an OSHA Complaint, violates Pennsylvania public policy as articulated in 35 PS

Health & Safety § 7313); see also Highhouse v. Avery Transp., 443 Pa.Super. 120, 127 (1995)

(holding that “that if the appellee-employer discharged appellant because he had made a claim

for unemployment compensation during a period when he was not working and earning income,

the discharge will constitute a violation of public policy and will support a tort claim for

wrongful discharge”). Defendant did not challenge the first basis of retaliation. 1

         The Wetherhold Court determined that “a termination of an employee who has filed a

report with OSHA violates the public policy of the Commonwealth” as the Pennsylvania Worker

and Community Right-to-Know Act (“PWCRA”) “must be read in conjunction with the OSH

Act and the termination of an employee for filing a complaint under either of those laws, with

either the applicable federal or state agency, is a violation of the PWCRA.” Wetherhold, 339

F.Supp.2d at 681-82. As such, Plaintiff’s cause of action has been recognized in this very

District. Id.

         Although Defendant seems to admit the holding of the Wetherhold Court, Defendant

claims that the Wetherhold Court did not address whether the Plaintiff had to file with the

Pennsylvania Department of Labor and Industry. See Defendant’s Motion to Dismiss Plaintiff’s

Second Amended Complaint (Doc. No. 17, Pg. 5). Not so. Wetherhold, 339 F.Supp.2d at 682.

Specifically, the Wetherhold Court determine that the statutory remedy found in 35 P.S. § 7314

was not a requirement but merely an option. Id (“A straightforward reading of this section of the

statute demonstrates that the filing of a complaint with the Commonwealth is not required, but


1
          As Defendant did not challenge the first basis, i.e. retaliation for filing for partial unemployment
compensation, Plaintiff’s matter should proceed even if this Honorable Court determines that the second basis, i.e.
retaliation for filing a complaint concerning workplace safety, is not recognizable. See Defendant’s Motion to
Dismiss Plaintiff’s Second Amended Complaint (Doc. No. 17).
        Case 2:17-cv-04300-BMS Document 20 Filed 03/09/18 Page 9 of 11



merely available as an avenue of redress. Therefore, because the PWCRA must be read in

conjunction with the OSH Act, an employee is not required to file a complaint with the

Department of Labor and Industry, the responsible Commonwealth Agency.”)

       The Wetherhold Court concluded as follows:

       It is clear from the Pennsylvania Worker and Community Right–to–Know Act, 35
       P.S. §§ 7301, et seq. (2004), the Occupational Safety and Health Act of 1970, 29
       U.S.C. § 660 (2004) and the regulations promulgated thereunder, that the public
       policy of the Commonwealth of Pennsylvania is violated if an employer
       terminates an employee for engaging in protected activity under either of those
       state or federal laws. Consequently, consistent with the Pennsylvania Supreme
       Court's McLaughlin decision, this Court finds that the termination of an employee
       who has filed a report with OSHA violates the public policy of the
       Commonwealth of Pennsylvania, as articulated in the PWCRA, and relief for an
       allegation of wrongful termination could be granted.

       As this Honorable Court has recognized Plaintiff’s claim and does not require a

plaintiff to file with OSHA or the Department of Labor and Industry for retaliation when

Pennsylvania public policy is violated, Defendant’s Motion to Dismiss should be denied.

III.   CONCLUSION

       For the foregoing reasons, Plaintiff, Muriel Beck, respectfully requests this Honorable

Court deny Defendant’s Motion to Dismiss Plaintiff’s Second Amended Complaint and enter the

proposed Order attached hereto

       WHEREFORE, Plaintiff, Muriel Beck, by and through her undersigned attorneys,

respectfully requests this Honorable Court deny Defendant’s Motion to Dismiss Plaintiff’s

Second Amended Complaint and enter the proposed Order attached hereto.

                                                    Respectfully submitted,

WEISBERG LAW                                        SCHAFKOPF LAW, LLC

/s/ Matthew B. Weisberg                             /s/ Gary Schafkopf
Matthew B. Weisberg                                 Gary Schafkopf
Attorney Id. No.: 85570                             Attorney ID No. 83362
       Case 2:17-cv-04300-BMS Document 20 Filed 03/09/18 Page 10 of 11



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        Case 2:17-cv-04300-BMS Document 20 Filed 03/09/18 Page 11 of 11



                        UNITED STATES DISTRICT COURT
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                                  :
CNO FINANCIAL GROUP, INC., et al. :
11825 N. Pennsylvania St.         :
Cannel, IN 46032                  :


                               CERTIFICATE OF SERVICE

       I, Matthew B. Weisberg, Esquire, hereby certify that on this 9th day of March, 2018, a

true and correct copy of the foregoing Plaintiff’s Response in Opposition to Defendants’ Motion

to Dismiss, and Plaintiff’s Memorandum of Law in Support thereof, was served via ECF upon

the following party:

William J. Leahy, Esq.
Denise M. Maher, Esq.
Littler Mendelson, P.C.
Three Parkway
1601 Cherry St., Ste. 1400
Philadelphia, PA 19102-1321

                                                    WEISBERG LAW

                                                    /s/ Matthew B. Weisberg
                                                    Matthew B. Weisberg, Esquire
                                                    L. Anthony DiJiacomo, III, Esquire
                                                    Attorneys for Plaintiff
